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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS

IN RE AMERIQUEST MORTGAGE CO.
MORTGAGE LENDING PRACTICES
LITIGATION
                                                         MDL No. 1715
____________________________________
                                                         Lead Case No. 05-cv-07097
THIS DOCUMENT RELATES TO: ALL
ACTIONS                                                  (Centralized before the Honorable
                                                         Marvin E. Aspen)


     PLAINTIFFS’ NOTICE OF SUPPLEMENTAL AUTHORITY IN SUPPORT OF
      MOTION FOR PROVISIONAL CERTIFICATION OF RESCISSION CLASS

       Plaintiffs submit the District Court decision in McKenna et al. v. First Horizon Home

Loan Corp., C.A. slip op. No. 04-10370-RCL (D. Mass. March 31, 2006) (copy attached) in

support of their Motion for Provisional Certification of a Rescission Class for Purposes of

Preliminary Injunctive Relief. [Docket No. 10.] The District Court in McKenna certified a class

of borrowers for the purposes of declaratory judgment as to the existence of an extended right to

rescind under the Truth in Lending Act, 15 U.S.C. § 1601 et seq. (“TILA”). Plaintiffs here seek

the same relief.

    Plaintiffs note that they relied on the Magistrate’s report in their moving papers. Plaintiffs’

Memorandum In Support Of Motion For Provisional Certification, p. 9 and Reply Memorandum,

p. 5-6. [Docket Nos. 14 and 76]. In adopting the Magistrate’s report, District Judge Lindsey

considers and expressly rejects an argument that Ameriquest makes here – that the presence of a

class action provision in 15 U.S.C. § 1640 creates an inference that Congress did not intend to

allow class relief under 15 U.S.C. § 1635. McKenna, pp. 4-5.
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                                            Respectfully submitted,


Dated: April 6, 2006                        /s/ Gary Klein
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